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                  l ,21'           UNITED STA TES DISTRICT COURT             M
                                  SOUTHERNDISTRICTOFNEWYORK . ·                  EMO ENDORSED

           DANIEL KLEEBERG , LISA STEIN, and AUDREY
           HAYS,
                                                              Civil Action No. 16-CV-95 l 7(LAK)
                                 Plaintiffs,

                   V.


           LESTER EBER; ALEXBA Y, LLC f/k/a LESTER            JOINT PRETRIAL ORDER
           EBER, LLC; ESTATE OF ELLIOTT W. GUMAER,
           JR. ; and WENDY EBER,

                                 Defendants,

                   and

           EBER BROS. & CO., INC.; EBER BROS . WINE
           AND LIQUOR CORP.; EBER BROS. WINE &
           LIQUOR METRO, INC.; EBER-CONNECTICUT,
           LLC; EBER-RHODE ISLAND, LLC; EBER BROS .
           ACQUISITION CORP. ; EBER-METRO, LLC;
           SLOCUM & SONS OF MAINE, INC .; and
           CANANDAIGUA NATIONAL BANK & TRUST
           COMPANY,

           Nominal Defendants.



                The parties having conferred among themselves and with the Court pursuant to Fed. R.
         Civ. P. 16 and the Court' s Individual Practices, the following statements, directions and
         agreements are adopted as the Pretrial Order herein.
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I.     NATURE OF THE CASE

        This is a diversity action involving an intra-family dispute over the propriety of certain
actions taken by the late Lester Eber and his daughter Wendy Eber, principally in 2007 and 2012,
and thereafter, in connection with a group of related family companies that were engaged in the
wine and liquor distribution business, primarily in New York and Connecticut. By 2010, the
New York operations had ceased but the Connecticut operations continued. Lester, who was
President of the corporations, died in April 2020 of COVID-19. He was succeeded as President
by Wendy.

        The related corporations were controlled by a testamentary trust created by Lester' s
father (the "Trust"). Plaintiffs (the testator's grandchildren) were beneficiaries of the Trust at the
time this lawsuit was filed and prior to the Trust' s termination in 2017. Lester was one of three
co-trustees of the Trust. The other two co-trustees have reached settlements with Plaintiffs that
were approved by Magistrate Judge Katherine Parker.

        Plaintiffs seek various relief as detailed below and in the attached proposed order. In sum,
their claims are primarily derivative in nature on behalf of several of the corporations,
challenging the validity and legality of a variety of transactions. They primarily allege breaches
of Defendants' fiduciary duties as officers and directors of the corporations, and by Lester as a
co-trustee. As to one transaction, where ownership of the Connecticut business was transferred to
a company wholly owned by Lester (Defendant Alexbay, LLC) in 2012, Judge Parker has
entered partial summary judgment finding as a matter of law that the transaction constituted a
breach of Lester's duty of undivided loyalty as a co-trustee.




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II.    JURY/NON-JURY

        The parties have agreed to a trial by jury. However, the parties agree that not every issue
raised in the litigation is properly the province of the jury. The parties agree in general that legal
issues are to be decided by the Court. Plaintiffs submit that the following issues should be decided
by Judge Kaplan, not the jury, possibly with an advisory verdict from the jury on some issues if
the Court would find it helpful:

              a. Whether Plaintiffs are legal shareholders of Eber Bros. & Co., Inc. and thus
                 have standing to pursue derivative claims on behalf of it and its subsidiary.
              b. Equitable remedies, if any, for recognizing Plaintiffs' rights as shareholders,
                 including setting dates for shareholder and director meetings so that valid
                 directors can be elected.
              c. Equitable remedies, if any, for Lester's breach of fiduciary duty, such as which
                 specific transactions to set aside and which property is subject to a constructive
                 trust. (Counts I and IV)
              d. Ordering an accounting from Wendy Eber, the Estate, and the nominal
                 defendants. (Count IX)

Defendants do not object in general but reserve the right to object to specific issues.
The parties agree that the following non-exhaustive list are issues for the jury to decide:


               a. The amount of money that Lester loaned, and other financial
                  accommodations, to the business, if any, and the value of the Trust assets that
                  Lester took possession of in 2012. (Count I)
               b. Whether the Polebridge Bowman acquisition of six percent of Eber-
                  Connecticut LLC was a valid transaction. (Count I)
               c. Whether Wendy Eber breached her fiduciary duties as an officer and director
                  of the Eber businesses through her conduct in connection with transactions
                  involving her father, Lester Eber. (Count I)
               d. Whether Lester and Wendy Eber were disloyal to the Eber businesses. (Count
                  II)
               e. Whether Lester Eber fraudulently concealed his acquisition of business assets
                  from the Trust beneficiaries. (Count VII)
               f. Whether Wendy Eber aided and abetted her father in breaching his fiduciary
                  duties and engaging in fraudulent concealment. (Count VIII)
               g. Whether Lester Eber breached his fiduciary duties and was unjustly enriched
                  by negotiating a personal consulting contract with Southern Wine & Spirits
                  while the business (owned by the Trust) was negotiating a contract with
                  Southern Wine & Spirits to liquidate its business assets. (Counts I and III)
               h. Whether corporate changes to Eber Bros. Wine & Liquor Co. and the
                  contemporaneous issuance of preferred stock to Lester Eber in 2017 were
                  valid (Counts I and IV).




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               1.   Whether Lester Eber's attempt to acquire sole ownership of 2/3s of the shares
                    of Eber Bros. & Co., Inc. from the Trust was valid, and if Plaintiffs did
                    anything wrongful to encourage Lester' s actions. (Count X)
               j.   Whether there is a basis for punitive damages and, if so, the amount. (Counts
                    I, VII, and VIII)

        The parties agree that this list is non-exhaustive, and they reserve the right to argue that
other issues should be decided by the jury. In addition, Plaintiffs contend that some aspects of
these issues have already been decided at summary judgment and should not be reexamined by
the jury.




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III.    STIPULATED FACTS

         1.     Lester Eber ("Lester") began working for Nominal Defendant Eber Bros. & Co .
Inc. ("Eber Bros."), a wine and liquor distributorship, in or about 1959. He eventually held the
titles of President and Director of Eber Bros.

        2.     Lester Eber passed away on April 5, 2020 from COVID-19.

        3.      Lester' s father, Allen Eber, the founder of Eber Bros., created a Testamentary Trust
in his 1969 Will (the "Will") known as the Allen Eber Trust ("the Trust"). Upon his demise, the
Trust held all the voting stock in Eber Bros.

         4.      Lester served as Co-Trustee of the Trust, along with Elliott W. Gumaer, Jr. , and an
institutional trustee, eventually Canandaigua National Bank ("CNB").

       5.     At the time, this lawsuit was first filed , Plaintiffs, Daniel Kleeberg, Lisa Stein and
Audrey Hays were beneficiaries of the Trust, holding a combined two-thirds interest in the Trust.
The remaining one-third of the interest in the Trust was held by Lester Eber.

     6.     At all relevant times, Nominal Defendant Eber Bros. Wine and Liquor Corp
("EBWLC"), has been a subsidiary of Eber Bros.

       7.     As of February 2012, Nominal Defendant Eber Bros. Wine & Liquor Metro, Inc.
("Eber Metro") was a wholly owned subsidiary of EBWLC.

        8.     Prior to February 2012, Lester Eber was the President of EBWLC.

        9.     As of May 2012, Wendy Eber was the President of EBWLC.

        10.    Wendy Eber is the current President of Eber CT.

       11.     Lester was hired by Southern Wines & Spirits in August of 2007 as a consultant
and lobbyist in New York.

       12.    On or about February 21 , 2012, Alexbay filed an action in New York State Supreme
Court, Monroe County, Index No.: 2012/1919 (the "Article 9 Action") under UCC §9-620 and §9-
627, seeking a determination that Alexbay' s acceptance of all Eber Bros. ownership interest in
Eber Metro in full satisfaction of loans that were alleged to have been held by Alexbay was
"commercially reasonable," as that term is defined in the UCC.

       13.     Lester Eber submitted an affidavit dated March 14, 2012 in support of the Article
9 Action.

        14.    EBWLC transferred all its Eber Metro stock to Alexbay in June 2012.




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       15.     On February 15, 2017, CNB petitioned the Monroe County Surrogate' s Court to
terminate the Trust and distribute its assets to the Trust beneficiaries ("the Petition").

       16.    On June 1, 2017, Surrogate John M. Owens entered an Order for Judicial Settlement
of Final Account of Successor Co-Trustee, Resignation and Discharge of Co-Trustee and
Termination of Trust (the "Termination Order").

        17.    On October 30, 2018, Lester Eber, through his counsel, sent a notice to CNB ,
copying Plaintiffs' counsel, asserting that he was exercising a call option to purchase the Eber
Bros. shares that were to be otherwise distributed from the Trust to Plaintiffs.




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IV.    EXHIBITS

        The parties agree that the lists below are non-exhaustive, and that neither party shall
object to the addition of new exhibits to the exhibit list on the sole ground that the addition was
made after the entry of this or any other pretrial order so long as the additional exhibit is added at
least one week before the start of the trial date. Any exhibits added after that date can only be
added with the consent of the adverse party, or by showing good cause for the late addition to the
Court.

        The agreement to not object shall not apply to any other grounds for objections, including
but not limited to, any objection under the Federal Rules of Evidence, or any objection based on
violations of the Federal Rules of Civil Procedure, such an objection that the proposed exhibit
was not timely produced in discovery.




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IV.         PLAINTIFFS' EXHIBITS

The following exhibits are numbered as they were during summary judgment and depositions.
New exhibits not used in depositions or at summary judgment begin at number 201.

  EX#          DESCRIPTION                                                              DATE
      1        Internal Canandaigua National Bank ("CNB") Email re Eber Account         Sent l l /22/2006

      2        Email from Wendy Eber to Rick Hawks, CNB, re: Annual Letter              Sent 12/02/2009

      4        Annual Trustee Letter from CNB to Audrey Hays                            Dated 12/18/2012

      5        Annual Trustee Letter from CNB to Audrey Hays                            Dated 12/23/2013

               Email from Wendy Eber to Lester Eber attaching for his review draft
      6        "Minutes from Meeting of Trustees of the Trust of Allen Eber June 7th"   Sent 1/02/20 13
               2012

      8        Lester Eber's Notarized Affidavit                                        Signed 12/08/2011

               Letter from Richard Hawks (CNB) to Lester Eber and Elliott Gumaer re:
      9                                                                                 Dated 2/24/2016
               Allen Eber Residuary Trust

               Chart of Corporate Structure ofEBWLC and Operating Affiliates as of
      11                                                                                Undated
               2009

               Wendy Eber's "Summary of Lester Eber's Payments for Liabilities of
      12                                                                                Undated
               EBER Bros.Wand L Corp."

      13       Line of Credit Note from Eber Metro to Lester Eber                       "October _ , 2009"

      14       Polebridge Bowman Stock Purchase Agreement with Eber Metro               "as of' 5/30/20 I 0

      15       Security Agreement between EBWLC, Eber Metro, and Lester Eber            "as of' 2/26/2010

      16       Line of Credit Note from Eber Metro to Lester Eber                       Dated 2/26/201 0

      17       Debt Assumption Agreement between EBWLC and Eber Metro                   "as of' 2/11/2011

               Amended and Restated Security Agreement between EB WLC and Eber
      18                                                                                "as of' 2/11/2011
               Metro "in favor of' Lester Eber

      19       Minutes of EB WLC 8/18/2011 Board Meeting                                Undated

      21       Gumaer Resignation from EB&C, Eber Metro, and Eber-CT                    Scanned 2/7/2017

               Consulting Agreement between Southern Wine & Spirits and Lester
      27                                                                                Effective 8/30/2007
               Eber




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EX#     DESCRIPTION                                                                DATE
28      W-2s Issued to Lester Eber for 2006 to 2009, and 2011 to 2017              Various

                                                                                   Various from 2012 to
29      Letter Agreements between Southern Wine & Spirits and Lester Eber
                                                                                   2016

30      Amended and Restated Promissory Note                                       "as of' 3/13/2006

        Alexbay, LLC Business Details and Name Change History from
31                                                                                 Accessed I 0/1 /2016
        Connecticut Secretary of State

32      Letter from Rita Nischal , Esq. (CNB) to Lester Eber                       Dated 7/12/2017

33      Order for Judicial Settlement of Final Account of Co-Trustee               6/ 1/2017

34      Letter from James G. Vazzana, Esq . to Rita Nischal                        7/ 19/2017

        Email from Paul Keneally attaching Notice of Intent to Purchase Shares
35                                                                                 Sent 10/31 /2018
        from Lester Eber to Allen Eber Trust c/o CNB

36      Proposed Distribution of Securities from Allen Eber Trust                  Revised 9/2017

37      Email from James Vazzana to Rita Nischal                                   Sent 9/ 15/2017

38      Letter from Larisa LaRocca to James Vazzana and Brian Brook                Dated I 0/1 l /20 I 7

40      Email from James Vazzana to Lorisa LaRocca                                 Sent 6/2/2017

41      Email from James Vazzana to Lorisa LaRocca                                 Sent 8/ 18/2017

42      Letter from Audrey Hays to Wendy and Lester Eber                           Sent 10/ 10/2018

        Written Consent of the Sole Member of EBWLC BOD; Stock Issuance
                                                                                   "as of' 2/ 14 and
43      to Lester Eber; EBWLC Certificate oflncorporation Amendment;
                                                                                   2/15/2017
        Written Consent of EB&C as shareholder ofEBWLC

44      Alexbay v. EBWLC et al. Summons and Complaint                              Filed 2/21/201 2

        Affidavit of Lester Eber in Support of Motion for Judicial Determination
45                                                                                 Signed 3/14/2012
        of 'Commercial Reasonableness ' Under UCC 9-627

46      Affidavit of Lester in Harris Beach v. EBWLC et al. , No. 2014-13623       Signed 6/24/2015

                                                                                   Dated 1/2/200 I and
47      Engagement Letter Agreement between Elliott Gumaer and Lester Eber
                                                                                   stamped 1/8/200 I

48      Email from Elliott Gumaer to Wendy and Lester Eber re: Compensation        Sent 10/29/2013

49      Letter from Lester Eber to Sally Kleeberg re: Loan (without enclosures)    Dated 4/2/2010



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EX#      DESCRIPTION                                                             DATE
55       Slocum of Maine Call Option Exercise Letter                             Dated 7/ /2012

         Letter Agreement between EBWLC and Eder-Goodman, LLC re Sale of
56                                                                               Dated 1/29/2008
         Interest in Eber-CT

57       Amended and Restated LLC Agreement of Eber-CT                           "as of' 4/1 /2008

         Alexbay's Notice to EBWLC of Proposal to Accept Collateral in Full
59                                                                               Dated 1/ /2012
         Satisfaction of Debts Owed by Eber Metro

60       Board Meeting Minutes                                                   Various

         Unanimous Written Consent of the Board of Directors ofEBWLC to
61                                                                               Signed 6/9/2012
         transfer Eber Metro to Alexbay

         Eber Metro Stock Certificate Issued to Alexbay, signed by Lester Eber
62                                                                               Dated 6/5/2012
         as President of Eber Metro

         Agreement for Turnover and Acceptance of Eber Metro Pursuant to
63       N.Y. U.C.C., signed by Lester for Alexbay and Wendy for EBWLC and       Dated 6/5/2012
         Metro

         Emails from Gumaer to Lester and Wendy Eber re: Trustee
67                                                                               4/ 11 & 6/28/2014
         Compensation

74       Affidavit of Confession of Judgment, Teamsters v. EBWLC                 Signed 8/l /2012

         Unanimous Written Consent of Board of Directors ofEBWLC re: Lester      "as of' 2/28/2012 but
77
         Eber Resignation and Appointment of Wendy Eber as President             faxed 3/26/2012

86       Letter from James Vazzana to Larisa LaRocca re Lester Eber/ Trust       Dated 3/28/2017

         Wendy Eber Amended Responses Daniel Kleeberg's First Set of
88                                                                               Dated 7/26/2018
         Interrogatories

         Letters from Wayne Chaplin, President of Southern Wine & Spirits, to    3/ 14/2007 and
93
         Lester Eber, President ofEBWLC                                          2/7/2007

         Email from Wendy Eber to Elliott Gumaer attaching Letter dated
98                                                                               Sent 12/13/2012
         11/7/2012 from Underberg & Kessler re Alexbay's loans

         Email from Lester Eber to Elliott Gumaer re: attending meeting and
101                                                                              Sent 3/2/2012
         speaking with Richard Hawks of CNB

102      Emails between Elliott Gumaer, Wendy Eber, and Lester Eber              Sent 3/9/2012

107      Ebers' Amended Answer to Third Amended Complaint ("TAC")                Filed 6/24/2019

108      Bylaws ofEBWLC                                                          Undated


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EX#   DESCRIPTION                                                              DATE
109   Email and Attachments drafted by David Belt, Esq. for Lester Eber        1/18/2012

110   Lester Eber Deposition Day One Errata Sheet                              Signed 3/8/2019

      Email from Wendy Eber to Lester Eber's assistant supplying responses
112                                                                            Sent 10/5/2011
      to questions from David Belt re: Lester's loans

      Email from Wendy Eber to David Belt, Esq. re Lester Eber Loan
114                                                                            Sent 1/18/2012
      Balances and Interest

      Unanimous Written Consent of the Members of the Board of Directors
115                                                                            "as of' 2/ 14/2017
      ofEB&C

      Email from Wendy Eber to Lester Eber, Elliott Gumaer, and Glenn
117                                                                            Sent 3/4/2010
      Sturm re Minutes to Board Meeting

      Email from Elliott Gumaer to Wendy Eber re Wendy taking first right of
                                                                               Gumaer email sent
      first refusal to Polebridge Bowman's 6% interest in Eber-CT (forwarded
119                                                                            5/26/201 O; Memo
      to Harris Beach attorneys), and attaching Memorandum from Glenn
                                                                               dated 5/26/2010
      Sturm

      Email from Wendy Eber to Elliott Gumaer attaching a Unanimous
120   Written Consent in Lieu of Meeting of the Board of Directors of Eber     Sent 7/29/2010
      Metro dated May 28, 2010 but not yet signed by Gumaer

122   Email from Elliott Gumaer to Wendy Eber re Alexbay matter                Sent 3/13/2012

      Email from Wendy Eber to Marino Fernandez attaching documents re:
123                                                                            Sent 3/12/2012
      CNB's loan to Eber-CT

126   Expert Report of Frank Torchio                                           Served 6/28/2019

127   Expert Report of Glenn Liebman                                           Served 7/26/2019

132   Allen Eber's Will (the Trust instrument)                                 Signed 10/27/1969

133   Bylaws of Eber Bros. & Co., Inc. ("EB&C")                                Undated

                                                                               Issued 5/10/1991,
134   EB&C Stock Certificates Issued to the Trustees                           12/2/1997, and
                                                                               9/6/1989

      CNB's Petition for Judicial Settlement of Final Account of Co-Trustee,
135   Resignation and Discharge of Co-Trustee and Termination of Trust         Filed 2/ 15/2017
      (Relevant Excerpts Only; Ex. A (Empire Valuation) Omitted)

      Email from Wendy Eber to James Vazzana attaching Empire
136                                                                            Sent 1/27/2017
      Valuation's Appraisal ofEBWLC; forwarded to CNB's outside counsel



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EX#   DESCRIPTION                                                             DATE
      Notice of Appearance of James G. Vazzana, of Wiedman, Vazzana,          Sent 3/ 14/2017;
137   Corcoran & Volta, P.C., on behalf of Lester Eber in the Final           Signed by Lester
      Accounting of CNB Matter (with Cover Letter and Email)                  Eber 3/13/2017

138   Appointment of CNB as Trustee of the Trust                              Dated 7/23/2007

139   Revised Torchio Report Exhibits                                         Produced 8/22/2019

140   Guaranty ofEBWLC "in favor of' Lester Eber                              "as of' 2/26/2010

      Lester Eber' s 2nd Amended Responses to Lisa Stein' s First Set of
141                                                                           Dated 7/26/2018
      Interrogatories

      Lester Eber's 2nd Amended Responses to Daniel Kleeberg's First Set of
142                                                                           Dated 7/26/2018
      Interrogatories

143   Letter from Paul Keneally to Daryoush Behbood                           Sent 8/1 7/20 I 8

      Eber Defendants' Responses to Audrey Hays ' Second Set of
144                                                                           Verified 8/27/2018
      Interrogatories

      Lester Eber's Responses to Daniel Kleeberg' s Second Set of
145                                                                           Verified 8/27/2018
      Interrogatories

146   Wendy Eber's Responses to Lisa Stein' s First Set of Interrogatories    Signed 8/28/2018

147   Letter from Paul Keneally to Brian Brook re Interrogatory Supplements   Sent 12/14/2018

148   Responses to Hays' Contention Interrogatories                           Dated 9/13 /2019

149   Responses to Stein' s Contention Interrogatories                        Dated 9/13/2019

      Stand-Alone Restricted Stock Award Agreement and Employment             Effective "as of'
151
      Agreement between Wendy Eber and Eber Metro and Eber-CT                 8/14/2012

152   Resolutions of the Board of Directors of EBWLC                          Dated 2/26/20 l 0

153   Email from Wendy Eber to Richard Hawks                                  Sent 12/15/2016

      Board Authorizing Resolution re: Transactions with Southern Wine &
154                                                                           Dated 8/    /2007
      Spirits

155   EBWLC Form W-2 to Lester Eber                                           Calendar Year 2010

      Emails between Richard Hawks, Lester Eber, and Elliott Gumaer re:
156                                                                           9/ 1 to 9/6/2011
      Lisa Kleeberg Stein Financial Request

      Letters from Richard Hawks (CNB) to Sally Kleeberg, Lester Eber, and
157                                                                           Dated 9/20/2011
      Wendy Eber re Distribution to Erica Stein


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EX#   DESCRIPTION                                                               DATE
158   Audited Financial Statement for Eber-CT 2011 and 2012                     Dated 2/4/2013

      Stipulation between Alexbay, EBWLC and Eber Metro re "no
159                                                                             Signed 3/9/2012
      objection" to conveying Eber Metro to Alexbay

      EBWLC General Ledger Page 76, reflecting Legal and Accounting
160                                                                             Redacted by Defs.
      Expenses in Winter and Spring 2012

      Letter from Richard Hawks (CNB) to Audrey Hays, enclosing Letter
161                                                                             Dated 12/18/2009
      from Lester Eber dated 12/ 15/2009

      Closing Index to Harris Beach's Transaction Binder for Eber Bros. --
162                                                                             Undated
      Southern Wine & Spirits Transactions

      Alexbay Notice to Eber Metro of Proposal to Accept Collateral In Full     Faxed 1/18/2012 and
163
      Satisfaction of Debts, and Notice to Teamsters                            Delivered 1/19/2012

      Follow-up Correspondence from Lester Eber to Allen Eber Trust c/o         Signed and Sent
164
      CNB re [Exhibit 35]                                                       12/17/2018

      EBWLC Response to PBGC's Statement of Material Facts and
165   Statement of Material Facts in Support of Its Own Motion for Summary      Filed 10/1 /2015
      Judgment

      EBWLC Reply in Further Support of Its Motion for Summary Judgment
166                                                                             Filed 12/2/2015
      against PBGC

      Annual Funding Notice for EBWLC Retirement Plan for plan year
167                                                                             Mailed 11 / 15/2012
      ending 05/31/2012

      EBWLC General Ledger Pages 45, 71 , 79, 81 , 87, reflecting some of the
168                                                                             Redacted by Defs
      payroll expenses incurred after September 2007

      Emails between Wendy Eber and accountants (note that the attachments      From 3/24/2009
169
      to the top email were not produced by Defendants)                         through 7/24/2013

170   Eber Metro Profit & Loss Statement for Year Ending May 31 , 2009          Printed 8/11/2009

      Emails between Lester Eber, Wendy Eber, and David Dean concerning         Sent from 5/20/2008
171
      the sale of Eber-Rhode Island assets                                      to 5/21/2008

      Emails from Wendy Eber to Rick Hawks (CNB) re payment of
                                                                                Sent from 12/2/2009
172   dividends to the Trust and Class B individual shareholders from Eber
                                                                                to 12/1 1/2009
      Bros.

      Letter from P. Keneally to D. Behbood re Supplemental Interrogatory
173                                                                             Sent 11 /21/2018
      Responses from Wendy Eber




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EX#   DESCRIPTION                                                              DATE
      Email for Wendy Eber to Rick Hawks attaching documents concerning
174                                                                            Sent 6/ 13/2012
      the transfer of Eber Metro to A lexbay

                                                                               Deposed l /23/2019
176   Deposition of Lester Eber (excerpts from both days)
                                                                               and 6/27/2019

                                                                               Deposed 2/28/2019
177   Deposition of Wendy Eber, individually (excerpts from both days)
                                                                               and 6/28/2019

      Deposition of Eber Metro per FRCP 30(b)(6), with Wendy Eber as           Deposed 1/24/2019
178
      corporate designee (excerpts from both days)                             and 2/27/2019

      Deposition of Eber-CT per FRCP 30(b)(6), with Wendy Eber as
179                                                                            Deposed 2/27/2019
      corporate designee

      Deposition of Southern Glazer' s Wine & Spirits, LLC per FRCP
181                                                                            Deposed 5/9/2019
      30(b)(6), with Lee Hager as corporate designee

      Notice of Appeal of Jan. 16, 2016 Judgment in favor of PBGC, filed by
183                                                                            Filed 3/16/2016
      EBWLC

      All W-2s produced by Defendants for Wendy Eber in 2007-2009, in
184   response to a request for production of all W-2s issued by any Eber      Undated
      company

185   Email from Wendy Eber to Gumaer and Lester re Alexbay                    5/31 /2012

      Letter from Mark X. Ryan, Esq. to counsel for the parties on behalf of
201                                                                            5/6/2021
      his clients, Eder-Goodman, LLC and its members




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IV-B. DEFENDANTS ' EXHIBITS

Ex. A. Will of Allen Eber dated 10.27.1969 creating Testamentary Trust
Ex. B. Daniel Kleeberg transcript-deposition taken 12.19.2018
Ex. C. Proof of Sally Klee berg's expenses paid by Lester Eber during the year 2010
Ex. D. L. Eber letters dated 03.22.2010 and 04.02.2010 to S. Kleeberg & A. Stein with paperwork
requesting to invest
Ex. E. 10.11.2017 Woods Oviatt Gilman letters to J. Vazzana and B. Brook re Stock Powers
Ex. F. Affidavit of Confession of Judgment EBWLC to NYS Teamsters dated 08.01.2012
Ex. G. Affidavit of L. Eber sworn to 03.14.2012 in support of Alexbay Article 9 Action
Ex. H. Agreement for Turnover of Eber Metro to Alexbay dated 06.0S .2012
Ex. I. Alexbay Article 9 Action with Exhibits filed 02.21.2012
Ex. J. Alexbay Notices pursuant to UCC9-620 to EBWLC and Metro dated 01.18.2012
Ex. K. Amended and Restated Promissory Note I.SM dated 03.13.2006 EBWLC to L. Eber
Ex. L. Amended and Restated Promissory Note dated 03 .013.2006 EBWLC to L. Eber
Ex. M. Amended Modification Agmt. Teamsters re control group withdrawal liability dated
07.30.2012
Ex. N. Assignment of Note & Security Agreement dated 01.18.2012 L. Eber and Alexbay, LLC
Ex. 0. Benderson Signed Release 10.1S.201S
Ex. P. Company ownership charts
~ - Consent BOD of EBWLC dated 02.28.2012 resignation of L. Eber as President
Ex. R. Consent of BOD ofEBWLC dated 06.2012 consenting to Article 9 determination
Ex. S. Consulting Agreement dated 08.30.2007 Lester Eber-Southern
Ex. T. Copies of L. Eber loan checks
Ex. U. Pages from Eber Rule 26 Disclosures with 4 more L. Eber loan checks
Ex. V. D4 Settlement 02.06.2012
Ex. W. Debt Assumption paperwork dated 02.11.2011 Eber Metro assuming EBWLC obligation
under I .SM Note
Ex. X. Decision & Order dated 04.1 S.200S - EWLC v. Southern Wine & Spirits of America, Inc.
denying preliminary injunction
Ex. Y. Eber Defendants' deposition exhibits
Ex. Z. Eber Liabilities
Ex. AA. EBWLC Certificate of Amendment and consent 02.14.2017
Ex. BB. EBWLC Retirement Plan restated 07.01.1994
Ex. CC. Expert Report of Frank C. Torchio dated 06.28.2019
Ex. DD. Hon. Michael Telesca Order dated 01.19.2016 re Plan Termination date
Ex. EE. Lee Hager for Southern transcript-deposition taken 0S.09.2019
Ex. FF. Lester Eber-trust distributions to beneficiaries and Erica Stein
Ex. GG. Line of Credit Note I.SM papers dated 02.26.2010 Eber Metro - L. Eber
Ex. HH. Line of Credit Note 10.2009 Eber Metro - L. Eber
Ex. II. Loan Ledgers 2009-2011 for Eber Metro
Ex. JI. M. Gallagher letter dated 12.19.2018 re plan termination liability
Ex. KK. Minutes of BOD of Eber Metro dated 08.18.2011 ratifying loans
Ex. LL. Minutes of Officers of Trust of Allen Eber 06.07.2012
Ex. MM. Minutes of Officers of Trust of Allen Eber 8.18.2011
Ex. NN. Minutes of the BOD of Eber Metro dated 03.13 .2012

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Ex. 00. NOE of Order of Judge Rosenbaum dated 05.24.2012 granting Alexbay Article 9 action
Ex. PP. NYS Teamster Demand for Payment 01.10.2008
Ex. 00. PBGC Demand for Payment
Ex. RR. PBGC Notice of Termination of Plan
Ex. SS. PBGC Settlement-EBWLC settlement paperwork dated 02.24.2017
Ex. TT. Rule 26(a) Initial Disclosures Eber Def2017.06.16 (pleading only)
Ex. UU. Settlement Agreement dated 07.05.2007 EBWLC & Southern
Ex.VY. Settlement paperwork 10.23 .2015 Harris Beach and Eber companies
Ex. WW. Stipulation and Consent of Southern in Alexbay Article 9 Action
Ex. XX. Summary of Lester's payments
Ex. YY. UCC Financing Statements (EBWLC & Metro - L. Eber secured party)
Ex. ZZ. Wolf Concept Settlement 06 .30.2011
Ex. AAA. Written Consent of BOD ofEBWLC transferring ownership of Metro to Alexbay dated
05.06.2012
Ex. BBB. L. Eber personal payment checks to Bond Schoeneck & King, PLLC
Ex. CCC. L. Eber personal payment checks to Groom Law Group, Chartered & Harris Beach
PLLC
Ex. DDD. L. Eber personal payment checks to Underberg & Kessler LLP




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V.     GENERAL PROVISIONS, STIPULATIONS AND OBJECTIONS
       WITH RESPECT TO EXHIBITS

        The parties stipulate that neither side may object to the authenticity of any document that
it produced in discovery; accordingly, such documents may be used by any witness without
requiring the testifying witness to authenticate such documents prior to their admission. This
stipulation does not limit the right to object on other grounds (e.g. , offering an improper opinion
about a document without personal knowledge).

        The parties request additional time to review the other sides ' exhibits and consider all
objections and stipulations. Accordingly, the parties shall update this section at least two weeks
before the trial date.




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VI.         PLAINTIFF ' S WITNESS LIST

      •     Each individual Plaintiff will testify about their knowledge (or lack thereof) of
            Defendants ' conduct.
      •     Richard Hawks from co-trustee Canandaigua National Bank to testify about his
            knowledge (or lack thereof) of Defendants' conduct in his role managing the Trust.
      •     Andrew Eder from Eder-Goodman, which acquired 15% of Eber-CT in 2008, to testify
            about how he valued Eber-CT in accordance with industry standards and about
            Defendants' efforts to sell Eber-CT.
      •     Plaintiffs will present deposition testimony from Lester Eber and Wendy Eber concerning
            all aspects of the case.
      •     Plaintiffs will also call Plaintiff Lisa Stein to testify as a summary witness to present
            additional documents and interrogatories produced by Defendants, and/or testify about
            what documents were not produced in response to requests for production.
      •     Plaintiffs also expect to introduce additional deposition testimony from Lee Hager
            concerning Lester Eber' s negotiation of a $3 million consulting agreement for his
            personal benefit from Southern Wine & Spirits.
      •     If the Court does not sustain Plaintiffs' objections to the admission of certain evidence
            concerning the Eber companies ' financial status, Plaintiffs will call valuation expert
            Glenn Liebman to testify about the value of the business.




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VII.     DEFENDANT'S WITNESS LIST

Wendy Eber: ls likely to testify about virtually all facets of the case, including, without limitation,
financial and accounting matters, corporate governance, trustee issues, Lester Eber' s loans,
financial accommodations, and other arrangements, and the value of the Eber companies and the
insolvency of Eber Metro and EBWLC.
Davie Kaplan Accountants and Auditors: Scott Kogler (and potentially other accountants/auditors
at the firm), are likely to testify about the Eber companies ' financial and accounting matters, Lester
Eber' s loans, financial accommodations, and other arrangements, as well PBGC, Teamster, and
pension obligation issues.
Lisa Semenik: Is likely to testify about the Eber companies' financial and accounting matters,
Lester Eber' s loans, financial accommodations, and other arrangements, and Lester Eber' s
business dealings with Southern Wine & Spirits.
Sumner Pearsall (tax accountant): Is likely to testify about the Eber companies ' financial and
accounting matters, Lester Eber' s loans, financial accommodations, and other arrangements,
Lester Eber's business dealings with Southern Wine & Spirits, and the value of the Eber companies
and the insolvency of Eber Metro and EBWLC.
Frank Torchio: Is likely to testify regarding the substance of his report analyzing the value of Eber
Connecticut, Eber Metro, and Eber Wine & Liquor, including the insolvency of Eber Metro and
EBWLC.
Michael Gallagher: Is likely to testify about actuarial calculations regarding Eber companies '
pension liability.
Canandaigua National Bank: One or more witnesses may be called to testify about its role as co-
Trustee of the Allen Eber Trust, its banking relationship with the Eber Entities, loans made to the
Eber Entities, and knowledge about the financial condition of the Eber Entities during the relevant
time period.
Lee Hager (Southern Wine & Spirits): Certain portions of Mr. Hager' s deposition testimony will
be utilized to discuss Lester Eber's consulting arrangements, compensation, and other related
issues.
The parties reserve the right to object to any of the designated witnesses, or other witnesses not
named here. Notwithstanding that reservation of rights, the parties anticipate making the
following objections:
           •   Plaintiffs object to Michael Gallagher on the grounds that he was not disclosed as
               a potential witness during discovery and because his proposed testimony is
               inadmissible under Rules 401 , 403 , 701 , and 702.
           •   Plaintiffs object to Frank Torchio on the grounds that an expert opinion on
               valuation is irrelevant to any of the disputed issues of material fact.
           •   Plaintiffs object to the accounting witnesses on the grounds that having Wendy
               Eber and three or more accountants testify on the same subject ( one that is of
               marginal relevance at best) will be cumulative, confusing to the jury, and a waste
               of time.


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    •   Defendants object Glenn Liebman on multiple grounds, including Daubert, and
        that he never offered an expert opinion on value,
    •   Defendants object to any testimony of Andrew Eder beyond the 2008 transaction
        involving Eder-Goodman




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VIII. RELIEF SOUGHT

           The equitable relief sought by Plaintiffs is specified in the attached Proposed Order. 1
           In sum:
           a. For the Eber Metro Transfer, Plaintiffs exercise their rights under the no-further-
               inquiry rule to set aside the transaction, and accordingly ask the Court to restore their
               ownership interests and impose a constructive trust over Eber Metro from 2012
               forward so as to reverse a series of subsequent transactions as necessary so that all
               assets that were improperly transferred are returned.
           b. For the Polebridge Bowman transaction, Plaintiffs seek to have the transaction
               reversed and to have the 6% of Eber-CT shares returned to Eber Metro.
           c. For being faithless servants to EBWLC, Defendants ' compensation paid by EBWLC
               or any of its subsidiaries must be disgorged.
           d. An accounting is requested from Defendants to ensure that the constructive trust fully
               restores EBWLC ' s interest in Eber-CT and to ensure that all compensation is
               disgorged.
           e. For the shares of Eber Bros., Plaintiffs seek an order directing that all parties,
               including Nominal Defendants, recognize Plaintiffs as the rightful owners of 2/3 of
               the voting stock in Eber Bros. , and directing that specific further steps be taken,
               including new elections (Count V), to ensure that Plaintiffs' rights as controlling
               shareholders are formally established and respected in a timely fashion without
               additional steps to delay and obstruct being taken by Wendy Eber and her counsel.
               Plaintiffs also seek an order directing the Estate of Lester Eber to compensate
               Plaintiffs for any amounts paid to CNB as a result of Lester's wrongful attempt to
               prevent Plaintiffs from receiving their inheritance.
           f. Setting aside and rescinding the issuance of voting preferred shares to Lester Eber
               after this lawsuit was filed.
           g. Plaintiffs ask this Court to exercise its discretion to award reasonable expenses,
               including attorney fees , to be paid by EBWLC as the beneficiary of this derivative
               action.

           Plaintiffs also seek the following non-equitable monetary damages:
           a. For the Southern Transaction (Count I), Plaintiffs seek a money judgment against the
               Estate of Lester Eber in the amount of approximately $5 ,400,000.
           b. For Defendants ' fraudulent concealment of the Eber Metro transfer to Alexbay and
               egregious breach of their fiduciary duties, Plaintiffs seek an award of punitive
               damages against Defendants in an amount to be determined by the jury and reviewed
               for reasonableness by the Court.
           c. An award of prejudgment interest on compensatory and restitutionary monetary
               damages (both legal and equitable but excluding punitive damages) at the statutory
               rate of 9%.
           d. Post-judgment interest.

           Defendants oppose all requested relief.


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    Defendants object to the content of Plaintiffs ' Proposed Order, and on the basis that it is premature.

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Dated:   ~/17 }z)



Dated: May 14, 2021

Is Colin Ramsey                    /s Brian C . Brook
Colin Ramsey                       Brian C. Brook (BB 1980)
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



  DANIEL KLEEBERG, et al.,

                               Plaintiffs,

            -against-                                    16-CV-9517(LAK)(KHP)

  LESTER EBER, et al.,

                               Defendants,

                                                         [PROPOSED] ORDER
            and

  EBER BROS. & CO., INC., et al.,

                               Nominal Defendants.




LEWIS A. KAPLAN, UNITED STATES DISTRICT JUDGE

       After the entry of partial summary judgment in favor of Plaintiffs, and after due

consideration and trial, this Court grants judgment for Plaintiffs as follows:

PART I - Matters Concerning Eber Bros. & Co., Inc. ("EB&C") and Eber Bros. Wine and Liquor

Corp. ("EBWLC")

       1.         By Order of the Monroe County Surrogate's Court dated June 1, 2017, the shares

of EB&C held in the names of the trustees of the Allen Eber Residuary Trust (the "Trust") were

to be distributed as follows to the remaindermen of the Trust:

             •    Class A Voting: 616.67 (or 616 and 2/3) shares each to the Estate of Lester Eber

                  and Audrey Hays; 308.33 (or 308 and 1/3) shares each to Lisa Stein and Daniel

                  Klee berg.



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            •   Class B Nonvoting: 96.67 {or 96 and 2/3) shares each to the Estate Lester Eber

                and Audrey Hays; 48.33 {or 48 and 1/3) shares each to Lisa Stein and Daniel

                Kleeberg.

            •   6% Preferred Nonvoting: 666.67 {or 666 and 2/3) shares each to the Estate

                Lester Eber and Audrey Hays; 333.33 (or 333 and 1/3) shares each to Lisa Stein

                and Daniel Kleeberg.

       2.       This Court finds that the shares of EB&C belonging to the Trust should have been

distributed to the remaindermen, Audrey Hays, Lester Eber, Lisa Stein, and Daniel Kleeberg, in

accordance with the June 1, 2017 Surrogate's Court Order.

       3.       Immediately upon receipt of this Order, all responsible parties, including without

limitation Canandaigua National Bank & Trust {"CNB"), EB&C, and Wendy Eber as Secretary of

EB&C, are directed to complete all necessary steps under the UCC Article 8 and any other

applicable law to ensure that the shares of EB&C are registered on the books and records of

EB&C in accordance with this Order and that new stock certificates are issued to the

shareholders and delivered to the proper shareholders or their respective counsel of record.

       4.       Although the probate of Lester Eber's Estate is pending resolution in the

Surrogate Court, because the Estate holds only a minority interest in the Eber companies, the

pending probate proceedings shall not permit the delay of any steps required by this Order.

       5.       A telephonic meeting of the shareholders of EB&C shall occur within two (2) days

of the date of this Order. If the parties cannot agree on a date and time within that period, then

the date and time shall be set for the second day at 4:00 PM Eastern. Votes may be made by

proxy, and counsel for the parties shall be permitted to attend but shall not participate or


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obstruct the meeting. The shareholders entitled to vote at that meeting, and their respective

voting power, shall be Audrey Hays (1/3), the Estate of Lester Eber (1/3), Lisa Stein (1/6), and

Daniel Kleeberg (1/6). These voting rights and powers shall be recognized by EB&C even if, for

whatever reason, some or all of the steps necessary to formally register the shareholders in

accordance with this Order have not been completed before the meeting.

       6.      A vote for the directors of EB&C shall occur during the shareholder meeting after

no more than thirty minutes for discussion of nominees and debate. The votes shall be

announced and counted verbally, and a plurality of votes being sufficient to elect directors.

       7.      A meeting of the board of directors of EB&C shall occur immediately following

the shareholder vote for the election of the directors. The board of directors meeting may also

proceed by telephone and counsel for the parties shall be permitted to attend.

       8.      At the board meeting for EB&C, a majority of the duly elected directors of EB&C

shall appoint each of the officer(s) for EB&C, including first the selection of a Chairman of the

Board to preside over the remaining appointments. Debate and discussion of any candidates

shall be limited to no more than thirty minutes, in total, for all positions. At the minimum, there

must be a President and Secretary appointed by the end of the meeting, although the

responsibilities of President and Secretary may be vested in a single individual if the board so

determines.

       9.      The President of EB&C have the power to vote EB&C's voting common shares of

EBWLC to elect at least two directors of EBWLC. The President of EB&C may elect the directors

by execution of a unanimous written consent of all of the shareholders entitled to vote.




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       10.     Once elected, the directors of EBWLC may convene a meeting, or may act by

unanimous written consent, to remove or appoint officers of EBWLC, including at the minimum

person(s) empowered as President and Secretary, with such actions being effective

immediately.

       11.     The President of EBWLC shall have the power to vote EBWLC's shares in any

subsidiary corporation, including Eber Bros. Wine & Liquor Metro, Inc. ("Eber Metro") and to

thereby appoint directors for those corporations, who shall be permitted to remove or appoint

officers with immediate effect.

       12.     Upon appointment in accordance with this Order, the newly appointed President

of Eber Metro shall have full power and authority over Eber Metro's membership units in Eber-

Connecticut, LLC ("Eber-CT"), including the power to remove and appoint members of Eber-CT's

Board of Managers in accordance with Section 5.1.1 of the Eber-CT Limited Liability Company

Agreement.

       13.     Any of the foregoing required meetings or votes may be adjourned or delayed

only upon the unanimous, signed stipulation of the shareholders of EB&C or their counsel of

record in this case designating another date and time, or by further order of this Court.

       14.     Wendy Eber, who represents herself as the sole current officer and director of

EB&C, EBWLC, and Eber Metro, shall not undertake any extrajudicial action to interfere with,

delay, or obstruct any of the meetings or votes required by this Order. Subject to this limitation,

Wendy Eber and her counsel of record are permitted to observe any of the foregoing meetings

and to receive copies of any documents within 48 hours of signing.




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       15.     Lester' s attempt to prevent Plaintiffs from receiving EB&C stock in accordance

with the Monroe County Surrogate's June 1, 2017 Order is found to have been wrongful.

Accordingly, the Estate must reimburse Plaintiffs for any amounts Plaintiffs have paid or shall in

the future pay to CNB to reimburse it for legal expenses incurred in connection with this case or

the Allen Eber Trust after October 29, 2018.

PART II - Restoration of Ownership of and Assets Belonging to EBWLC and Eber Metro

       16.     The 2010 transfer of a 6% ownership interest in Eber-CT from Eber Metro to

Polebridge Bowman is found to have been improper and shall be disregarded. Accordingly, Eber

Metro owns 85% of the equity in Eber-CT. Any debts associated w ith the Polebridge Bowman

transaction are also void and shall be disregarded.

       17.     The 2012 transfer of Eber Metro to Alexbay, LLC is hereby set aside and

rescinded . A constructive trust in favor of EBWLC is imposed for the time since then, including

but not limited to all assets owned or received by Alexbay at any time since its formation.

       18.     To effectuate the constructive trust, Eber Metro must again be the wholly owned

subsidiary of EBWLC. All shares of Eber Metro stock that were transferred to Alexbay shall be

reconveyed to EBWLC. Any purported transfer of Eber Metro stock by Alexbay is set aside and

rescinded, including but not limited to the transfer of Eber Metro stock to Wendy Eber.

       19.     All of the stock of Slocum and Sons of Maine, which was subject to a call option

purchased and exercised by Eber Metro, shall be returned to Eber Metro within 7 days of this

Order. The constructive trust encompasses this entity as well, so for purposes of the

accountings and disgorgements directed herein, all Defendants' compensation from and

transactions involving Slocum of Maine must be included .


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          20.       EBWLC's issuance of voting preferred shares to Lester Eber in or around

February 2017 has been found to be an improper corporate transaction and a breach of

fiduciary duty, and therefore the issuance must be set aside and the preferred shares are

deemed null and void . All voting and ownership interests in EBWLC belong to EB&C, which is

majority owned by Plaintiffs. Upon being reconstituted in accordance with this Order, the Board

of EB&C may determine by majority vote to retain or rescind the February 2017 amendments

made to EBWLC's Certificate of Incorporation that created a new class of voting preferred

shares.

          21.       The Court further finds that the following temporary restraints are necessary and

appropriate to preserve the rights and interests of Plaintiffs, EB&C, and EBWLC:

          a. Wendy Eber is enjoined from transferring, assigning, encumbering, or in any way

                disposing of any of the equity of any of the nominal defendants.

          b. Eber-CT is enjoined from making any distributions to its members.

          c.    Eber-CT and Slocum of Maine are enjoined from making payments of any kind to any

                persons or companies that are owned or controlled (in whole or in part, directly or

                indirectly) by, or otherwise affiliated with, Lester or Wendy Eber or their spouses,

                children, siblings, or attorneys.

          d. Eber-CT is enjoined from entering into any new, renewal, modified, or extended

                employment contracts with officers or directors without the prior written consent of

                Plaintiffs.




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       e. EB&C, EBWLC, Eber Metro, Eber-CT, and Slocum of Maine are enjoined from filing

             any petitions for protection under the bankruptcy laws, or otherwise seeking the

             appointment of a receiver or trustee.

       f.    Alexbay, Wendy Eber, and their counsel are enjoined from taking any actions that

             would interfere with or delay any part of this Order taking effect, even though such

             actions might not be explicitly enjoined or prohibited. This provision shall not be

             interpreted as preventing Defendants from appeal ing to or seeking a stay of this

             Order from the U.S. Court of Appeals for the Second Circuit.

Unless otherwise ordered, these restraints shall continue until further order of this Court or a

written agreement of the parties.

       22.      Any transactions that occurred within the preceding eight (8) months that would

have violated any of the foregoing restraints had this order been in effect at the time sha ll be

disclosed to Plaintiffs' counsel within fourteen (14) days of the date of this Order. Plaintiffs shall

have fourteen (14) days after receiving disclosure of any such transactions to identify to this

Court any transactions that Plaintiffs contend should be voided and a succinct statement of the

grounds for doing so . This shall not limit the Plaintiffs' opportunity to seek appropriate

equitable relief or money damages as to such recent transactions disclosed pursuant to this

Order, if additional parties are necessary to obtain full relief.

       23.      Because this derivative action has resulted in a recovery for EBWLC and in light

of the facts and circumstances of this case, this Court exercises its discretion to award Plaintiffs'

their reasonable expenses, including attorney fees. The amounts shall be due and collectible




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from each of the beneficiary corporations: EB&C, EBWLC, and Eber Metro. Plaintiffs' counsel

shall submit a fee application within 30 days of the date of this Order.

PART Ill - The Faithless Servant Doctrine


        24.    Consistent with the constructive trust, Eber Metro and Eber-CT must be treated

as if they had been subsidiaries of EBWLC at all times. Therefore, the Court finds that

Defendants' duties of loyalty ran to EBWLC at all relevant times.

        25.    The Court finds that Lester Eber's first disloyal act occurred when he negotiated

a personal consulting agreement with Southern Wine & Spirits to benefit himself at the expense

of EBWLC and its shareholders. Accordingly, the Estate is ordered to pay EBWLC an amount

equal to all compensation paid to Lester Eber by EBWLC or any of its subsidiaries after July 5,

2007.

        26.    The Court finds that Wendy Eber's first disloyal act occurred when she obtained

a personal right to acquire the Eber-CT equity that was transferred to Polebridge Bowman to

benefit herself at the expense of Eber Metro and its shareholders, including EBWLC.

Accordingly, Wendy is ordered to pay EBWLC an amount equal to all compensation paid to her

by EBWLC or any of its subsidiaries after May 28, 2010.

        27.    The Estate of Lester Eber and Wendy Eber shall provide the Court and Plaintiffs

with accountings of all financial and property transactions that they or any entity they

controlled had entered into with any Eber company, so as to ensure that the remedies of

constructive trust and disgorgement are fully effectuated.




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SO ORDERED.

DATED:        New York, New York


              _ _ _ ___,2021




                                         LEWIS A. KAPLAN

                                         United States District Judge




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